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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION


JAMES NICE                                     )   CASE NO.
1391 Vermilion Dr.                             )
New Franklin, OH 44203                         )   JUDGE
                                               )
                Plaintiff,                     )
        vs.                                    )   COMPLAINT
                                               )
CITY OF AKRON                                  )   DEMAND FOR JURY TRIAL
146 South High St., Ste. 130                   )   Pursuant to Fed. R. Civ. P. 38(b)
Akron, Ohio 44308                              )
                                               )
And                                            )
                                               )
MAYOR DANIEL HORRIGAN                          )
(In his individual and official capacities)    )
146 South High St., Ste. 130                   )
Akron, Ohio 44308                              )
                                               )
AND                                            )
                                               )
AKRON POLICE CHIEF KENNETH BALL                )
(In his individual and official capacities)    )
217 South High St.                             )
Akron, OH 44308                                )
                                               )
JOHN DOE DEFENDANTS                            )
                                               )
                                               )
                Defendants.

        Plaintiff, James Nice, by and through counsel, submits his Complaint in this action against

Defendants, and hereby alleges as follows:




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                                        INTRODUCTORY STATEMENT

       This is an action for declaratory, injunctive and equitable relief, as well as monetary

damages, to redress:

   1. Defendants’ malicious and highly-public attack on Plaintiff’s character and reputation,

       which constitutes defamation per se, defamation, and an invasion of privacy under the

       laws of the State of Ohio;

   2. Defendants’ abuse of the legal process for motives unrelated to seeking justice in an

       attempt to damage Plaintiff, which violates Ohio law;

   3. Defendants’ deprivation, under color of state law, of Plaintiff’s rights, privileges,

       immunities, and right to due process, - all guaranteed under Federal Law and/or the

       Constitution of the United States, which violates 42 U.S.C. §1983 (“Section 1983”),

       including retaliation for Plaintiff’s exercise of his First Amendment rights;

   4. Defendant Ball’s criminal utilization of false writings to unduly pressure Plaintiff to resign,

       for which Ball is civilly liable under Ohio law; and

   5. Defendants’ conduct, which was knowing, malicious, willful and wanton, and/or showed a

       reckless disregard for Plaintiff, and which has caused, and continues to cause, Plaintiff to

       suffer substantial economic and non-economic damages, permanent harm to his

       professional and personal reputation, and mental anguish and emotional distress.

                                             THE PARTIES

   6. The Plaintiff, James Nice, (hereinafter “Plaintiff”) is and at all times mentioned herein, a

       private individual, over the age of majority, residing in the City of New Franklin, County of

       Summit, State of Ohio. Plaintiff served over 6 years as the Police Chief of the City of


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   Akron and, prior to the acts of Defendants set forth below, enjoyed a very good

   reputation in both his professional and personal life, and was well-respected in his local

   and business community. At all times material, Plaintiff was an “employee” of the City of

   Akron under applicable law.

7. Defendant, Mayor Daniel Horrigan, both in his official and individual capacities (referred

   to collectively as “Horrigan”) was, at all times material, an individual and public official,

   over the age of majority, residing in the County of Summit, State of Ohio, and acting in his

   individual and/or official capacity, as Mayor for the City of Akron.

8. Defendant, Kenneth Ball, both in his official and individual capacities (referred to

   collectively as “Ball”) was, at all times material, an individual and public official, over the

   age of majority, residing in the County of Summit, State of Ohio, and acting in his

   individual and/or official capacity as a managing police officer for the City of Akron.

9. Defendant, the City of Akron, is a municipal corporation and body politic and corporate,

   organized under the Constitution and laws of the State of Ohio.

10. Defendant John Does, upon information and belief, are agents of the City of Akron in

   some capacity.

                                 JURISDICTION AND VENUE

11. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1343, as this

   action involves federal questions and issues regarding the deprivation of Plaintiff’s civil

   rights under Section 1983. The Court has supplemental jurisdiction over Plaintiff’s related

   claims arising under Ohio law pursuant to 28 U.S.C. § 1367(a).




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12. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a substantial part

   of the events or omissions giving rise to this action, occurred in this district.

                                        STATEMENT OF FACTS

13. Plaintiff was hired on June 8, 2011, as the Chief of Police for the City of Akron by then-

   Mayor Donald Plusquellic.

14. Prior to taking this position, Plaintiff served honorably in the U.S. Navy, was a teacher for

   4 years, and was a special agent in the Federal Bureau of Investigation (“FBI”). At the FBI,

   Plaintiff served in various field offices and as an executive working at FBI headquarters in

   Washington, D.C., where he oversaw covert FBI operations worldwide.

15. Plaintiff was hired after a national search by former Akron Mayor Donald Plusquellic.

   When Horrigan took office, he was intent on placing individuals whom he thought would

   be loyal to him in leadership roles in the Akron Police Department and in other areas of

   city government.

16. For instance, Horrigan appointed Charles Brown (“Brown”) as Safety Director of the City

   of Akron. Brown was formerly a member of the Akron Police Department under Plaintiff,

   and Plaintiff adamantly opposed this appointment because of Brown’s performance and

   other issues that Plaintiff believed made Brown not an appropriate selection. Brown

   referred to himself as “assistant chief of police,” though this was not an accurate

   statement because there was no such position. Brown was actually given the position of

   Assistant to the Mayor.




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17. Horrigan also pressured Plaintiff into promoting others into high-level positions in the

   police department because these individuals were loyal to Horrigan, though these

   individuals were not qualified for those positions.

18. Horrigan often attempted to assert his influence over Plaintiff in a way designed to exert

   Horrigan’s control over the Akron Police Department. Plaintiff refused to acquiesce to

   Horrigan’s demands when Plaintiff reasonably believed that doing so would either

   endanger the citizens of, and visitors to, the City of Akron, or when Horrigan’s demands

   threatened the orderly operation of the Akron Police Department.

19. Plaintiff approached various members of Akron City Counsel regarding Horrigan’s attempt

   to unduly influence Plaintiff into carrying out his duties in ways that threatened the City’s

   safety and/or orderly operation of the Police Department, and Horrigan was notified of

   this complaint.

20. When it became apparent to Horrigan that Plaintiff would not submit to unmitigated and

   unconditional loyalty, Horrigan became bent on removing Plaintiff as police chief.

21. Further, during his tenure as police chief, Plaintiff exercised his First Amendment rights to

   criticize the pardoning of convicted criminals and to make protected comments regarding

   Plaintiff’s opinion that some judges were too lenient in sentencing convicted criminals.

22. Horrigan disapproved of these comments, prompting Horrigan to find ways to retaliate

   against Plaintiff, as more fully described below.

23. On or around this time, Plaintiff’s nephew, Joseph Nice, was investigated and charged

   with grand theft, forgery, and tampering with evidence. Those charges were dropped in

   their entirety, despite overwhelming proof of wrongdoing. Upon information and belief,


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   Defendants and John Does used their influence to entice prosecutors to offer Joseph Nice

   some type of immunity in order to coerce false testimony from Joseph Nice to be used

   against Plaintiff.

24. Beginning on August 25, 2017, Defendants collectively embarked on a path of false and

   defamatory allegations regarding Plaintiff, as well as abuse of the legal process, all

   designed to force Plaintiff out of his position as chief of police.

25. First, on August 25, 2017, Ball placed a phone call to Plaintiff and informed Plaintiff that

   Joseph Nice alleged that Plaintiff had made racially derogatory comments towards Brown.

   Ball also indicated that there is a tape-recorded conversation that Ball heard in which

   Plaintiff made these racially derogatory comments towards Brown. No such recording

   exists because Plaintiff never made those statements.

26. Ball further conveyed to Plaintiff that Joseph Nice alleged that Plaintiff was involved in

   criminal activity in relation to a used car lot owned by Joseph Nice. On the same call, Ball

   asked for Plaintiff’s resignation. Ball stated to Plaintiff that contesting the allegations

   would bring negative publicity to the Akron Police Department. Plaintiff never admitted

   to making the comments and was incredulous at the possibility that such a recording

   existed since he never made these comments.

27. Nevertheless, desiring to avoid causing embarrassment to the Akron Police Department

   and to his family, Plaintiff was unjustly forced to resign on August 26, 2017.

28. On or around August 28, 2017, Horrigan held a press conference in which he discussed

   Plaintiff’s resignation and knowingly and/or recklessly made false allegations against

   Plaintiff. Specifically, Horrigan told the media that Plaintiff made derogatory statements


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   about fellow officers. In a subsequent official press conference made on behalf of the

   mayor, Horrigan’s chief of staff, James Hardy, indicated that these comments were racial

   in nature.

29. This is a false statement

30. In that same August 28, 2017, press conference, Ball echoed these false allegations. Ball

   did this in hopes that Ball would be named Plaintiff’s replacement as Akron Chief of Police

   (which ultimately occurred without any thorough search for candidates, which is

   customary).

31. Upon information and belief, Horrigan, Ball, and the John Doe Defendants made similar

   defamatory statements to others and to various news outlets both before and after these

   press conferences.

32. The untrue allegations that Plaintiff made racially derogatory statements stand in stark

   contrast to his character and history. Plaintiff has been praised by the African-American

   community in Akron. Such praise came from many esteemed leaders in the Akron

   African-American community, such as the former president of the Akron chapter of the

   NAACP who was president during most of Nice’s tenure as Police Chief.

33. Following Plaintiff’s unjustly forced resignation, Defendants utilized Joseph Nice’s coerced

   statements to instigate a bogus criminal prosecution against Plaintiff.

34. Such unjust prosecution against Plaintiff was initiated and was ultimately transferred to

   the Cuyahoga County Prosecutor’s office for investigation supposedly in an effort to avoid

   any conflict of interest that the Summit County Prosecutor would have in investigating

   Plaintiff.


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35. Horrigan, Ball, and the John Does perverted the legal process to target Plaintiff in an

   attempt to justify their forcing Plaintiff to resign and in retribution for Plaintiff’s exercising

   his First Amendment rights.

36. Plaintiff was threatened by prosecutors that he would be charged with a number of

   serious felonies if Plaintiff did not plead to a misdemeanor charge of misuse of a

   computer. This allegation stemmed from Plaintiff’s use of a computer database to

   legitimately investigate a claim made by a victim of fraud related to the ownership of a

   motor vehicle. Such use of a computer was in no way improper or illegal, but in an effort

   to avoid further prosecution for more serious meritless offenses and in attempt to

   minimize the scathing press coverage he experienced as a result of the meritless

   prosecution, Plaintiff plead to this charge.

37. Several law enforcement entities, including the Ohio Bureau of Motor Vehicles, had

   already investigated this conduct and declined to initiate any further legal proceedings,

   showing that these charges were motivated by reasons other than true law enforcement

   prerogatives.

38. Because Horrigan, Ball, and other City agents were able to pervert the legal process and

   maliciously drive prosecution against Plaintiff in this respect, Plaintiff was forced to plead

   to the misdemeanor offense to avoid having to undergo a further perverted legal process.

                    FIRST CAUSE OF ACTION AGAINST ALL DEFENDANTS
             (Defamation and Defamation Per Se – Libel/Slander under Ohio Law)

39. Plaintiff incorporates and restates each of the above paragraphs as if fully set forth

   herein.



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40. As described above, Horrigan, Ball, and other agents of the City of Akron made

   defamatory statements about, of, and concerning Plaintiff of such a nature that it can be

   presumed, as a matter of law, that they tend to degrade or disgrace Plaintiff, of whom

   they are written or spoken, or hold him up to a public hatred, contempt or scorn.

41. Horrigan, Ball, and other agents of the City of Akron contacted various individuals, to be

   revealed in the discovery process, and published these materially false statements in a

   malicious action to damage Plaintiff’s good reputation.

42. All relevant parties reasonably understood that these statements referred to Plaintiff and

   reasonably understood them to mean that Plaintiff had made such statements, was

   unethical, and was involved in behavior incompatible with the proper conduct of his

   business, trade or profession.

43. The aforesaid defamatory statements made by Horrigan, Ball, and other agents of the City

   of Akron were and are false and were not privileged.

44. Defendants made said statements knowing the falsity thereof or without using

   reasonable care to determine the truth or falsity thereof.

45. Horrigan, Ball, and other agents of the City of Akron made the aforesaid defamatory

   statements with malice and with the intent to injure Plaintiff’s good name and reputation

   and to interfere with Plaintiff’s employment, in that they harbored ill-will toward Plaintiff.

46. Horrigan, Ball, and other agents of the City of Akron’s conduct in publishing the

   aforementioned false statements was knowing, malicious, willful, and wanton and/or

   showed a reckless disregard for the truth, which has caused and continues to cause

   Plaintiff to suffer substantial economic and non-economic damages, permanent harm to


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   his professional and personal reputation, and severe mental anguish and emotional

   distress.

47. Defendants engaged in the above-described actions recklessly, maliciously, and

   intentionally entitling Plaintiff to an award of statutory, compensatory, and other

   damages.

                   SECOND CAUSE OF ACTION AGAINST ALL DEFENDANTS
                     (Invasion of Privacy - False Light under Ohio Law)

48. Plaintiff incorporates and restates each of the above paragraphs as if fully set forth

   herein.

49. Horrigan, Ball, and other agents of the City of Akron purposely provided the Akron

   Beacon Journal and other media outlets with information containing many false and

   defamatory statements about Plaintiff, thereby giving great publicity to these statements

   with their subsequent publication in the Akron Beacon Journal newspaper (at least on 22

   front pages of that newspaper) and on the internet, allowing said statements to be read,

   on an ongoing basis, by a large number of people.

50. Horrigan, Ball, and other agents of the City of Akron’s statements placed Plaintiff before

   the public in a false light.

51. Horrigan, Ball, and other agents of the City of Akron’s statements are highly offensive to a

   reasonable person.

52. Horrigan, Ball, and other agents of the City of Akron were at fault and knew or were

   reckless to the falsehood of the statements.

53. Horrigan, Ball, and other agents of the City of Akron’s conduct in publishing the

   aforementioned false statements was knowing, malicious, willful and wanton and/or

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   showed a reckless disregard for Plaintiff, which has caused and continues to cause

   Plaintiff to suffer substantial economic and non-economic damages, permanent harm to

   his professional and personal reputation, and severe mental anguish and emotional

   distress.

54. Defendants engaged in the above-described actions recklessly, maliciously, and

   intentionally, entitling Plaintiff to an award of statutory, compensatory, and other

   damages.

                   THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS
               (Section 1983 – First and Fourteenth Amendment Retaliation)

55. Plaintiff realleges and incorporates by reference the paragraphs above, as though fully set

   forth herein.

56. In retaliation for Plaintiff exercising his First Amendment rights (as incorporated by the

   Fourteenth Amendment), as described above, Defendants retaliated and/or adopted a

   custom, policy, and/or practice of retaliation against Plaintiff.

57. Defendants violated Plaintiff’s constitutional rights via 42 U.S.C. §1983.

58. As a direct result of this retaliation that Defendants engaged in, endorsed and adopted,

   Plaintiff has suffered damages.

59. Defendants engaged in the above-described actions recklessly, maliciously, and

   intentionally entitling Plaintiff to an award of statutory, compensatory, and other

   damages.




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                      FOURTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
                              (Abuse of Process Under Ohio Law)

60. Plaintiff realleges and incorporates by reference the paragraphs above, as though fully set

    forth herein.

61. Legal proceedings against Plaintiff have been perverted to attempt to accomplish an

    ulterior purpose for which it was not designed, to wit: retaliate against Plaintiff, interfere

    with his employment, politically damage him, and harm his good and longstanding

    reputation in the community. These perverted legal proceedings were initiated and

    perpetuated by Defendants.

62. Direct substantial damage has resulted to Plaintiff from Defendants’ wrongful use of

    process, and that Plaintiff was obliged to defend himself and to expend money and time

    in his defense.

63. Defendants engaged in the above-described actions recklessly, maliciously, and

    intentionally entitling Plaintiff to an award of statutory, compensatory, and other

    damages.

                        FIFTH CAUSE OF ACTION AGAINST DEFENDANT BALL
(Civil Liability for Criminal Acts under Ohio Rev. Code §2307.60(A)(1) and §2921.03(A) – False
                                           Recordings)

64. Plaintiff realleges and incorporates by reference the paragraphs above, as though fully set

    forth herein.

65. Under Ohio Rev. Code § 2307.60 (A)(1), “Anyone injured in person or property by a

    criminal act has, and may recover full damages in, a civil action,” including attorneys’ fees

    and punitive damages.



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   66. Criminal statute Ohio Rev. Code § 2921.03(A) provides that no person “shall attempt to

       influence . . . a public servant . . . by filing, recording, or otherwise using a materially false

       or fraudulent writing with malicious purpose, in bad faith, or in a wanton or reckless

       manner.”

   67. As described above, no recording or writing exists in which Plaintiff admits to using

       racially derogatory comments. Ball therefore used fraudulently contrived recordings to

       influence the decision to compel Plaintiff to resign.

   68. As a direct and proximate result of Ball’s activity, Plaintiff has suffered damages.

   69. Defendants engaged in the above-described actions recklessly, maliciously, and

       intentionally entitling Plaintiff to an award of statutory, compensatory, and other

       damages.

                                          PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests judgment against Defendants as follows:

   A. For appropriate declaratory relief regarding the unlawful and unconstitutional acts and

       practices of Defendants;

   B. Declare that the City is vicariously liable for its employees’ and public officials’ acts

       described above and hold the City liable for said acts;

   C. For appropriate compensatory, economic and non-economic, damages in an amount to

       be determined at trial;

   D. For appropriate equitable relief against all Defendants enjoining and permanently

       restraining them from continuing to commit these violations, and direction to Defendants

       to take such affirmative action as is necessary to ensure that the effects of the


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       unconstitutional and unlawful practices are eliminated and do not continue to affect

       Plaintiff;

   E. For an award of punitive damages, reasonable attorney’s fees, and costs, including pre

       and post judgment interest, from those Defendants against whom such damages are

       legally available; and

   F. For such other and further relief to which Plaintiff may show himself justly entitled.

                                                               Respectfully submitted,

                                                               /s/ Shawn Romer
                                                               Shawn Romer (0084251)
                                                               Romer Law Firm, LLC
                                                               2012 W. 25th St., Ste. 716
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                                                               Attorney for Plaintiff

                                             JURY DEMAND

Plaintiff hereby demands a trial by jury on all issues so triable.

                                               /s/ Shawn Romer_____________
                                               Shawn A. Romer (0084251)
                                               Attorney for Plaintiff




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